1:18-cv-01345-JBM # 1   Page 1 of 32                                    E-FILED
                                       Monday, 24 September, 2018 10:43:45 AM
                                                   Clerk, U.S. District Court, ILCD
1:18-cv-01345-JBM # 1   Page 2 of 32
1:18-cv-01345-JBM # 1   Page 3 of 32
1:18-cv-01345-JBM # 1   Page 4 of 32
1:18-cv-01345-JBM # 1   Page 5 of 32
1:18-cv-01345-JBM # 1   Page 6 of 32
1:18-cv-01345-JBM # 1   Page 7 of 32
1:18-cv-01345-JBM # 1   Page 8 of 32
1:18-cv-01345-JBM # 1   Page 9 of 32
1:18-cv-01345-JBM # 1   Page 10 of 32
1:18-cv-01345-JBM # 1   Page 11 of 32
1:18-cv-01345-JBM # 1   Page 12 of 32
1:18-cv-01345-JBM # 1   Page 13 of 32
1:18-cv-01345-JBM # 1   Page 14 of 32
1:18-cv-01345-JBM # 1   Page 15 of 32
1:18-cv-01345-JBM # 1   Page 16 of 32
1:18-cv-01345-JBM # 1   Page 17 of 32
1:18-cv-01345-JBM # 1   Page 18 of 32
1:18-cv-01345-JBM # 1   Page 19 of 32
1:18-cv-01345-JBM # 1   Page 20 of 32
1:18-cv-01345-JBM # 1   Page 21 of 32
1:18-cv-01345-JBM # 1   Page 22 of 32
1:18-cv-01345-JBM # 1   Page 23 of 32
1:18-cv-01345-JBM # 1   Page 24 of 32
1:18-cv-01345-JBM # 1   Page 25 of 32
1:18-cv-01345-JBM # 1   Page 26 of 32
1:18-cv-01345-JBM # 1   Page 27 of 32
1:18-cv-01345-JBM # 1   Page 28 of 32
1:18-cv-01345-JBM # 1   Page 29 of 32
1:18-cv-01345-JBM # 1   Page 30 of 32
1:18-cv-01345-JBM # 1   Page 31 of 32
1:18-cv-01345-JBM # 1   Page 32 of 32
